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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP

 2 Charles K. Verhoeven (Bar No. 170151)
   charlesverhoeven@quinnemanuel.com
 3 David A. Perlson (Bar No. 209502)
   davidperlson@quinnemanuel.com
 4 50 California Street, 22nd Floor
   San Francisco, California 94111
 5 Telephone: (415) 875-6600
   Facsimile: (415) 875-6700
 6
   Kevin P.B. Johnson (Bar No. 177129)
 7 kevinjohnson@quinnemanuel.com
   Victoria F. Maroulis (Bar No. 202603)
 8 victoriamaroulis@quinnemanuel.com
   555 Twin Dolphin Drive, 5th Floor
 9 Redwood Shores, California 94065
   Telephone: (650) 801-5000
10 Facsimile: (650) 801-5100

11 Attorneys for Samsung Electronics Co., Ltd.,
   Samsung Electronics America, Inc., and
12 Samsung Research America, Inc.

13                              UNITED STATES DISTRICT COURT

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                     SAN FRANCISCO DIVISION

16 HUAWEI TECHNOLOGIES CO., LTD., et al.,              CASE NO. 16-cv-02787-WHO

17                       Plaintiffs,                   SAMSUNG’S REPLY IN SUPPORT
                                                       OF ITS MOTION TO STAY
18           v.                                        HUAWEI’S INFRINGEMENT
                                                       CLAIMS FOR THE ’197 AND ’166
19 SAMSUNG ELECTRONICS CO., LTD., et al.,              PATENTS
20                       Defendants.                   Date: June 20, 2018
                                                       Time: 2:00 pm
21                                                     Place: Courtroom 2, 17th Floor
   SAMSUNG ELECTRONICS CO., LTD. &                     Judge: The Hon. William H. Orrick
22 SAMSUNG ELECTRONICS AMERICA, INC.

23                       Counterclaim-Plaintiffs,
24           v.
25 HUAWEI TECHNOLOGIES CO., LTD.,
   HUAWEI DEVICE USA, INC., HUAWEI
26 TECHNOLOGIES USA, INC., & HISILICON
   TECHNOLOGIES CO., LTD.
27
                  Counterclaim-Defendants.
28

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 1 I.       INTRODUCTION

          Samsung submits the following reply in response to Huawei’s Opposition to Samsung’s

  Motion to Stay Huawei’s Infringement Claims for the ’197 and ’166 Patents. Huawei’s Opposition

  ignores the Supreme Court’s SAS v. Iancu decision, mischaracterizes the PTAB’s supplemental orders,

  and contradicts the very arguments that Huawei made to this Court in support of its own motion to

  stay.

          First, Huawei is incorrect that “[t]here is no reason to assume the PTAB . . . will now revisit

  the patentability of [claims 7 and 13].” Dkt. 296 at 1. The PTAB must decide the patentability of

  these claims in light of the Supreme Court’s directive in SAS v. Iancu, 138 S.Ct. 1348, 1354 (2018).
 The decision held in no uncertain terms that when the PTAB institutes an inter partes review, it “must

 address every claim the petitioner has challenged.” Id. Huawei’s opposition completely ignores this

 requirement and asks the Court to assume that the PTAB will act to the contrary. As explained below,

 the PTAB’s decision will necessarily simplify the issues in this case and conserve significant time and

 resources.

         Second, the PTAB did not “invite” Samsung to dismiss claims 7 and 13. The PTAB simply

 authorized the parties to file a joint motion to limit the petition by removing certain claims or

 grounds—just as it did in every other inter partes review impacted by the SAS v. Iancu decision. See

 https://www.uspto.gov/sites/default/files/documents/20180503_PPAC_PTAB_Update.pdf at 6 (“If

 panel has instituted on only some challenges raised in the petition, panel may at this time . . . Receive

 joint request filed by the parties to terminate as to certain challenges.”). The pro forma language in

 the PTAB’s supplemental orders does not suggest in any way that it will violate the Supreme Court’s

 directive and decline to decide the patentability of claims 7 and 13.

         Third, Huawei’s arguments under the stay factors contradict the representations it made to the

 Court in its own motion to stay. Previously, Huawei argued that the “runway remaining in this case”

 favored a stay, and that “[c]ourts have stayed patent infringement claims in cases at similar stages,

 often staying cases even more advanced than this one.” Dkt. 260 at 4. Now, less than two months

 later, Huawei argues that trial is “rapidly approaching.” Dkt. 296 at 5. Huawei previously argued that

 a stay “will streamline upcoming expert discovery and motion practice, including infringement expert

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 1 reports, invalidity expert reports, damages expert reports, expert depositions, dispositive motions,

 2 Daubert motions, and pre-trial proceedings.” Dkt. No. 260 at 3. Now it argues that “a stay will not

 3 conserve resources or simplify the case.” Dkt. 296 at 3. Finally, with respect to prejudice, Huawei is

 4 now walking back its arguments that the Court’s narrowing requirements and the nature of the case—

 5 which Huawei views as “fundamentally a FRAND dispute”—favor a stay.

 6 II.       ARGUMENT
 7           A.     Huawei Ignores the Substantial Work Remaining in the Case
 8           When Huawei filed its motion to stay, it cited the fact that the parties and Court still had to

 9 deal with rebuttal expert reports, expert depositions, Daubert motions, dispositive motions, additional

10 claim construction, trial preparation, and trial. Dkt. 260 at 3-4. All of these events remain to be

11 litigated and therefore “a substantial portion of the work . . . lies ahead.” PersonalWeb Techs., LLC v.

12 Facebook, Inc., No. 5:13-CV-01356-EJD, 2014 WL 116340, at *3 (N.D. Cal. Jan. 13, 2014). Huawei

13 does not genuinely dispute this. Dkt. 296 at 5. It argues that expert discovery is “well underway” and

14 trial is “rapidly approaching,” but these arguments gloss over the many substantive events that remain

15 to be litigated over the next seven months.           The arguments also contradict Huawei’s prior

16 representation that these remaining events warrant a stay. Dkt. 260 at 3-4. The real focus of Huawei’s

17 argument is that the PTAB is unlikely to decide the patentability of claims 7 and 13. Dkt. 296 at 5.

18 This argument, which is incorrect on the merits, has nothing to do with the case schedule and the
19 issues that remain to be litigated. Accordingly, this factor favors granting Samsung’s motion to stay.

20           B.     Huawei is Incorrect that the PTAB Will Decline to Decide the Patentability of
21                  Claims 7 and 13, and, No Matter What, the Inter Partes Review Proceedings
22                  Will Simplify this Case
23           In just the opening round of expert discovery, the parties served twenty six reports from

24 nineteen different experts. Obviously, all of these experts will not testify in the two weeks allotted for

25 trial. Staying Huawei’s infringement claims for the ’197 and ’166 Patents will simplify and

26 streamline the case now, without requiring the parties and Court to engage in expensive expert

27 discovery, motion practice, trial preparation, and trial. See Dkt. 267; Evolutionary Intelligence, LLC

28 v. Apple, Inc., Case No. 13-CV-04201-WHA, 2014 WL 93954, at *2 (N.D. Cal. Jan. 9, 2014) (“A stay

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 1 may also be granted in order to avoid inconsistent results, obtain guidance from the PTAB, or avoid

 2 needless waste of judicial resources.”). Huawei’s argument that the inter partes review proceedings

 3 will not simplify or streamline the case is based on the incorrect assumption that the PTAB will

 4 decline to decide the patentability of claims 7 and 13. The Court should reject this argument for the

 5 following reasons.

 6           First, Huawei’s assumption is based on 37 CFR § 42.104(b)(3), but this rule governs the

 7 procedural requirements of a petition—not the PTAB’s review on the merits after a petition has been

 8 instituted. See 37 C.F.R. § 42.104. These procedural requirements are now moot for the proceedings

 9 against the ’197 and ’166 Patents in view of the SAS decision and supplemental PTAB orders that

10 instituted review against all of the challenged claims.1

11           Second, Huawei’s assumption ignores the Supreme Court’s holding in SAS. 138 S.Ct. at 1354.

12 The Supreme Court did not hold that the PTAB can simply rubberstamp its prior decisions declining

13 to institute review of certain claims or grounds. Id. Rather, the PTAB “must address every claim the

14 petitioner has challenged.” Id. Under SAS, the PTAB will have to decide the patentability of claims 7

15 and 13, and its ultimate decision will indisputably simplify the issues in this case. See PersonalWeb

16 Techs., LLC v. Apple Inc., 69 F. Supp. 3d 1022, 1027-28 (N.D. Cal. 2014) (“Either the claims, already

17 found reasonably likely to be invalid, will become moot, or the Court will have the benefit of the

18 PTAB's findings. Under both outcomes, the issues in question and trial of the case will be
19 simplified.”).2

20           Third, as Samsung explained in its Motion, claims 7 and 13 are directed to the same subject

21 matter as the claims that were originally instituted, and for which the PTAB found a reasonable

22 likelihood of obviousness based on Samsung’s arguments concerning the teaching of the prior art and

23
   1
      Huawei argues that Samsung’s cited case law does not address the situation here, where an inter
24 partes review proceeding is supplemented with new claims in light of a Supreme Court decision.
   Dkt. 296 at 3. That is not surprising because the SAS decision is the first time the Supreme Court
25
   weighed in on the scope of institution decisions.
26 2 Huawei has informed Samsung that it intends to ask the PTAB for a five-week extension and
   5000-word submission to address the newly instituted claims. This indicates that Huawei expects
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   the PTAB to decide the patentability of these claims, not simply rubberstamp its institution
28 decision.

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 1 motivation to combine. Dkt. 295 at 4. Huawei has not—and cannot—dispute that the same prior art

 2 and motivation to combine will apply equally when the PTAB decides the patentability of claims 7

 3 and 13 as required under SAS. Dkt. 296 at 4. In this regard, Samsung intends to supplement the

 4 record in the inter partes review proceedings to present arguments from Huawei’s experts that the

 5 specification discloses sufficient corresponding structure for the means-plus-function limitations in

 6 claims 7 and 13. Notably, Huawei does not argue that, under this alleged corresponding structure, the

 7 obviousness analysis for claims 7 and 13 is any different than for the originally instituted claims.

 8 Accordingly, the PTAB’s analysis will likely “eliminate the need to try the infringement issue[s]” for

 9 claims 7 and 13. Evolutionary Intelligence, 2014 WL 93954, at *2.

10           Fourth, even if the PTAB disregards the SAS directive and declines to decide the patentability

11 of claims 7 and 13, its analysis will still simplify the issues in this case. As discussed in Section II.D

12 below, if the PTAB determines that the means-plus-function limitations in claims 7 and 13 cannot be

13 construed because the patent specification lacks corresponding structure, it will assist the Court’s

14 analysis of whether the claims are indefinite under Williamson v. Citrix Online, LLC, 792 F.3d 1339

15 (Fed. Cir. 2015) (en banc). And in any case, the PTAB will render findings on claim interpretation,

16 the teachings of the prior art, and motivation to combine for the claims that were originally instituted.

17 This analysis will assist the Court in deciding the obviousness of claims 7 and 13, which are directed

18 to the same subject matter. In both cases, “the issues in question and trial of the case will be
19 simplified.” PersonalWeb, 69 F. Supp. 3d at 1028.3

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23   3
        Huawei is incorrect that Samsung would be estopped from raising prior art challenges in this
24   Court if the PTAB declines to decide the patentability of claims 7 and 13. Dkt. 296 at 4 n.2. It
     would be an issue of first impression whether the estoppel standard is met when claims are
25   included in an inter partes review, but the PTAB declines to decide their patentability. Moreover,
     courts in this district have found that “statutory estoppel simplifies the issues by preventing
26   parties from relitigating the same validity issues before the PTO and the court.” Evolutionary
     Intelligence, LLC v. Sprint Nextel Corp., Case No. 13-CV-4513-RMW, 2014 WL 819277, at *4
27
     (N.D. Cal. Feb. 28, 2014). Thus, even under Huawei’s estoppel argument, the PTAB’s final
28   written decisions will simplify the issues in this case.

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 1           C.     Huawei Does Not Identify Any Prejudice that Would Result from a Stay
 2           The fact that Huawei elected to proceed with claims 7 and 13 does not weigh against a stay.

 3 Huawei chose these claims despite the fact that the PTAB had found a reasonable likelihood of

 4 obviousness for the originally instituted claims that are directed to the same subject matter. Huawei

 5 knew there was a risk that the PTAB’s analysis of the originally instituted claims would impact this

 6 Court’s analysis of claims 7 and 13, so staying claims 7 and 13 now that they are subject to inter

 7 partes review does create prejudice.4

 8           This is also not a case, as Huawei contends, where it would face a “clear tactical disadvantage”

 9 if the Court grants a stay. Dkt. 296 at 6. First, a “clear tactical disadvantage” arises when the moving

10 party engages in gamesmanship or undue delay—neither of which are present in this case.

11 PersonalWeb, 69 F. Supp. 3d at 1029-30. Samsung acted diligently and moved for a stay within days

12 of the PTAB issuing its supplemental orders in light of the SAS v. Iancu decision. Second, although

13 the stay will require Huawei to elect from eight claims rather than ten, it will still be allowed to

14 proceed to trial on five claims—the same number as Samsung. As Huawei told the Court when

15 seeking its own stay, “resolving any single infringement claim is much less consequential than in a

16 typical infringement case.” Dkt. 260 at 4. Thus, Huawei cannot legitimately argue that it would be

17 prejudiced by selecting from eight claims rather than ten.

18           D.     A Stay Is Not Premature
19           Finally, the Microsoft v. Enfish decision cited by Huawei supports granting a stay. Dkt. 296 at

20 6. Microsoft v. Enfish is a Final Written Decision where the PTAB performed a detailed analysis of

21 means-plus-function claims and ultimately determined that the specification lacked sufficient

22 corresponding structure for the claimed functions. Microsoft Corp. v. Enfish, LLC, IPR2013-00559,

23 Paper 65, 2015 WL 1009213, at *6 (Mar. 3, 2015). Under the SAS directive to decide the patentability

24 of claims 7 and 13, the PTAB will perform a similar analysis and evaluate whether the specification

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26   Huawei tried to have it both ways—relying on the PTAB’s finding of no structure to avoid inter
     4

   partes review, while arguing that sufficient structure exists to avoid indefiniteness and support its
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   continued assertion of claims 7 and 13. In light of SAS, the PTAB will decide these issues, and it
28 would be wasteful—not prejudicial—for the Court to decide them in parallel.

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 1 provides sufficient corresponding structure for the means-plus-function limitations. If the PTAB

 2 determines that the limitations lack corresponding structure and cannot be construed, the resulting

 3 decision will assist this Court’s analysis of whether the claims are indefinite under Williamson v.

 4 Citrix Online, LLC, 792 F.3d 1339 (Fed. Cir. 2015) (en banc). If the PTAB determines that sufficient

 5 corresponding structure does exist, then it will analyze the claims under the prior art. In either case,

 6 “[t]his action may benefit from the PTAB’s decision” and “[t]here is also little benefit to be gained

 7 from having two forums review the validity of the same claims at the same time.” Dkt. 267 (citing

 8 Evolutionary Intelligence, 2014 WL 93954, at *3).5

 9 III.      CONCLUSION
10           For the foregoing reasons, Samsung respectfully requests that the Court grant its Motion to

11 Stay.

12

13 DATED: May 15, 2018                             Respectfully submitted,

14                                                 QUINN EMANUEL URQUHART &
                                                   SULLIVAN, LLP
15

16                                                 By /s/ Charles K. Verhoeven
                                                     Charles K. Verhoeven
17                                                   Kevin P.B. Johnson
                                                     Victoria F. Maroulis
18                                                   Thomas D. Pease
19                                                   David A. Perlson

20                                                    Attorneys for Samsung Electronics Co., Ltd.,
                                                      Samsung Electronics America, Inc., and
21                                                    Samsung Research America, Inc.
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   5
      Again, Samsung intends to supplement the record in the inter partes review proceedings to
26 present arguments from Huawei’s experts that the specification discloses sufficient corresponding
   structure for the means-plus-function limitations of claims 7 and 13. Huawei does not argue that,
27
   under this alleged corresponding structure, the obviousness analysis for claims 7 and 13 is any
28 different than the originally instituted claims.

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 1                                           ATTESTATION
 2           I, Victoria F. Maroulis, am the ECF user whose ID and password are being used to file the

 3 above Motion. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Charles K. Verhoeven

 4 has concurred in the aforementioned filing.

 5

 6                                                       /s/ Victoria F. Maroulis
                                                         Victoria F. Maroulis
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